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       EXHIBIT 3
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   March 28, 2022
                                                                                     yavapai
                                                                                                         COLLEGE
   Babst Calland
   c/o Alexandra G. Farone, Esq.
   Two Gateway Ctr., 6th FL
   603 Stanwix St.
   Pittsburgh, PA 15222




   To Whom It May Concern:

   Yavapai College is in receipt of a Request for Records based on a Supboena concerning Civil Action No.
   2:21-cv-01766-GMN-NJK issued in the State of Nevada.

   Please note that a lawfully-issued subpoena is required for release of student records. "In order for the
   subpoena to be binding upon the institution on which the subpoena is served, an officer of a court that
   has jurisdiction over the institution must have issued it." (AACRAO 2012 FERPA Guide, p. 49.)

   Yavapai College will respond to a lawfully-issued subpoena that originates in the State of Arizona.

   Sincerely,


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           _/2    _
   Sheila M. Jarrell, M.Ed., Registrar
   Yavapai College
   1100 E. Sheldon St.
   Prescott, AZ 86301




                                                                                                   Office of the Registrar

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